        Case: 1:10-cv-06558 Document #: 26 Filed: 11/23/10 Page 1 of 20 PageID #:152




                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

    CHRISTOPHER BROWN, individually and on )
    behalf of all others similarly situated,     )
                                                 )
                            Plaintiff,           )       Case No. 10-cv-6558
                                                 )
                            v.                   )       Judge Elaine E. Bucklo
                                                 )
    JOHN P. CALAMOS, SR., Trustee of the )               Magistrate Judge Sheila M. Finnegan
    Calamos Convertible Opportunities and Income )
    Fund, et al.,                                )
                                                 )
                            Defendants.          )
                                                 )

                 JOINT RESPONSE OF FUND DEFENDANTS AND CALAMOS
                  DEFENDANTS IN OPPOSITION TO MOTION TO REMAND




John W. Rotunno                                      Kevin B. Dreher
Paul J. Walsen                                       MORGAN, LEWIS & BOCKIUS LLP
Molly K. McGinley                                    77 West Wacker Drive
K&L GATES LLP                                        Chicago, Illinois 60601-5094
70 West Madison Street, Suite 3100                   Telephone: 312.324.1000
Chicago, Illinois 60602-4207                         Facsimile: 312.324.1001
Telephone: 312.372.1121
Facsimile: 312.827.8000                              Christian J. Mixter (pro hac vice)
                                                     Patrick D. Conner (pro hac vice)
      Attorneys for defendants                       MORGAN, LEWIS & BOCKIUS LLP
      Weston W. Marsh, Joe F. Hanauer,               1111 Pennsylvania Avenue, NW
      John E. Neal, William R. Rybak,                Washington, DC 20004-2541
      Stephen B. Timbers, David D. Tripple           Telephone: 202.739.3000
      and the Calamos Convertible Opportunities      Facsimile: 202.739.3001
      and Income Fund
                                                           Attorneys for defendants John P. Calamos, Sr.,
                                                           Calamos Advisors LLC and Calamos Asset
                                                           Management, Inc.
      Case: 1:10-cv-06558 Document #: 26 Filed: 11/23/10 Page 2 of 20 PageID #:153




                                                  TABLE OF CONTENTS

                                                                                                                                     Page

PRELIMINARY STATEMENT .................................................................................................... 1

PLAINTIFF’S ALLEGATIONS .................................................................................................... 2

ARGUMENT.................................................................................................................................. 5

I.        PLAINTIFF CONCEDES THAT THREE OF THE FOUR CONDITIONS FOR
          SLUSA REMOVAL ARE SATISFIED ............................................................................. 6

II.       SLUSA’S FOURTH REQUIREMENT FOR REMOVAL IS SATISFIED....................... 7

          A.         Plaintiff’s “Disclaimer” Is Wholly Ineffective ........................................................7

          B.         Plaintiff’s Avoidance Of The Terms “Misrepresentation” Or “Omission” Has
                     No Bearing On SLUSA’s Application.....................................................................8

          C.         SLUSA’s “In Connection With” Requirement Also Is Met ..................................13

CONCLUSION............................................................................................................................. 14
     Case: 1:10-cv-06558 Document #: 26 Filed: 11/23/10 Page 3 of 20 PageID #:154




                                                TABLE OF AUTHORITIES

                                                                                                                                  Page(s)
                                                                  Cases
Anderson v. Merrill Lynch Pierce Fenner & Smith, 521 F. 3d 1278 (10th Cir. 2008)................... 6

Beckett v. Mellon Investor Servs, Inc., No. C06-5245, 2006 WL 3249189 (W.D. Wash.
       Nov. 8, 2006), aff’d in relevant part, 329 Fed. Appx. 721 (9th Cir. 2009) ............ 9, 10, 11

Daniels v. Morgan Asset Mgmt., Inc., No. 09-cv-2800, 2010 WL 4024604 (W.D. Tenn.
       Sept. 30, 2010) .............................................................................................................. 8, 10

Felton v. Morgan Stanley Dean Witter & Co., 429 F. Supp. 2d 684 (S.D.N.Y. 2006) .................. 9

In re Mut. Funds Inv. Litigation, 309 Fed. Appx. 722 (4th Cir. 2009)......................................... 11

Kircher v. Putnam Funds Trust, 398 Ill. App. 3d 664, 922 N.E.2d 1164, 337 Ill. Dec. 587
       (5th Dist. 2010) ........................................................................................................... 11, 12

Kircher v. Putnam Funds Trust, 403 F.3d 478 (2005), rev’d on other grounds, 547 U.S.
       633 (2006)......................................................................................................................... 14

Korsinsky v. Salomon Smith Barney, Inc., No. 01-cv-6058, 2002 WL 27775 (S.D.N.Y.
       Jan. 10, 2002)...................................................................................................................... 8

Kurz v. Fid. Mgmt. & Research Co., No. 07-cv-709, 2008 WL 2397582 (S.D. Ill. June
       10, 2008), aff’d, 556 F. 3d 639 (7th Cir. 2009)............................................................... 7, 9

Kutten v. Bank of America, N.A., 530 F. 3d 669 (8th Cir. 2008) ................................................ 11

Merrill Lynch, Pierce, Fenner & Smith Inc. v. Dabit, 547 U.S. 71 (2006) .................... 5, 6, 13, 14

Potter v. Janus Investment Fund, 483 F. Supp. 2d 692 (S.D. Ill. 2007) ......................................... 6

Rabin v. JPMorgan Chase Bank, N.A., No. 06-cv-5452, 2007 WL 2295795 (N.D. Ill.
       Aug. 3, 2007) .......................................................................................................... 9, 11, 13

Romano v. Kazacos, 609 F. 3d 512 (2d Cir. 2010) ........................................................................ 9

Segal v. Fifth Third Bank, 581 F.3d 305 (6th Cir. 2009) ..................................................... 8, 9, 11

Stoody-Broser v. Bank of America, N.A., No. C08-02705, 2009 WL 2707393 (N.D. Cal.
      Aug. 25, 2009) ........................................................................................................ 9, 11, 12

U.S. Mortgage, Inc. v. Saxton, 494 F.3d 833 (9th Cir. 2007)....................................................... 14

United States v. O’Hagan, 521 U.S. 642 (1997)........................................................................... 14
     Case: 1:10-cv-06558 Document #: 26 Filed: 11/23/10 Page 4 of 20 PageID #:155


                                                                                                                                    Page(s)

                                                                 Statutes
28 U.S.C. § 1332............................................................................................................................. 4

15 U.S.C. § 77p...................................................................................................................... passim

15 U.S.C. § 78bb.................................................................................................................... passim




                                                                         ii
   Case: 1:10-cv-06558 Document #: 26 Filed: 11/23/10 Page 5 of 20 PageID #:156




       Defendant Calamos Convertible Opportunities and Income Fund and its Independent

Trustees, defendants Weston W. Marsh, Joe F. Hanauer, John E. Neal, William R. Rybak,

Stephen B. Timbers and David D. Tripple, by their attorneys, and defendants John P. Calamos,

Sr., Calamos Advisors LLC and Calamos Asset Management, Inc., by their attorneys,

respectfully submit this Memorandum in opposition to Plaintiff’s motion to remand this action to

the Circuit Court of Cook County, Illinois, from which it was removed pursuant to the Securities

Litigation Uniform Standards Act, 15 U.S.C. § 77p(b), § 78bb(f)(l) (“SLUSA” or the “Act”).


                               PRELIMINARY STATEMENT

       The Complaint in this case is brought by an investor in common shares of the Calamos

Convertible Opportunities and Income Fund (the “Fund”). He purports to sue on behalf of a

class of Fund shareholders, claiming a loss in the value of the putative class members’

investment in Fund common shares. In summary, the Complaint alleges that the Fund publicly

represented that investors in its common shares would benefit significantly from the Fund’s use

of auction market preferred shares to provide investment leverage and that this form of leverage

“would continue indefinitely” (Compl. ¶ 13), but that the Fund instead redeemed those preferred

shares in 2008 and 2009 utilizing assertedly less favorable debt financing. This is alleged to

have “materially altered the business model of the Fund” described in the Fund’s publications,

“defeated a significant feature of the investment rationale” attracting investors to common shares

in the Fund, and caused the value of common shares to decline. (Compl. ¶¶ 13, 34(d), (e))

       Although the Complaint is pleaded in counts asserting breach of fiduciary duty by the

Fund’s Board of Trustees, aiding and abetting a breach of fiduciary duty, and unjust enrichment,

by its terms the Complaint does not purport to be brought as a derivative action on behalf of the

Fund, as one would expect of such state law claims. Instead the Complaint is cast as a class
    Case: 1:10-cv-06558 Document #: 26 Filed: 11/23/10 Page 6 of 20 PageID #:157




action based upon the Fund’s alleged pronouncements concerning the benefits and advantages of

an investment in common shares and its alleged assertions that the Fund would “indefinitely”

employ auction market preferred shares to provide investment leverage. These allegations,

selectively drawn from the Fund’s Securities and Exchange Commission (“SEC”) filings and

other, unidentified public statements, betray Plaintiff’s use of state law labels to mask claims

predicated upon asserted misrepresentations and nondisclosures in connection with the sale of

Fund common shares. They also bring the Complaint into the path of SLUSA, which authorizes

the removal of this case to federal court and precludes its maintenance as a class action.

                                PLAINTIFF’S ALLEGATIONS

       Plaintiff Christopher Brown alleges that he has owned common shares of the Fund since

2006. (Compl. ¶ 5) The Fund is a Delaware statutory trust and a closed-end investment

company registered under the Investment Company Act of 1940, as amended (the “ICA”).

(Compl. ¶¶ 1, 6(k), 9) The putative class Brown purports to represent is defined to include “all

persons and entities that were the beneficial owners of common shares of the Fund at any time

from March 19, 2008 through the present. . . .” (Compl. ¶ 35)

       Brown alleges that the primary investment objective of the shares he purchased, as

described by the Fund in “reports filed with the Securities and Exchange Commission,” “is to

provide total return through a combination of capital appreciation and current income.” (Compl.

¶ 10) According to the Complaint, “materials filed [by the Fund] with the Securities and

Exchange Commission. . .or otherwise published to the investing public” described financial

leverage as a “key piece of the return to the Fund’s common shareholders. . . .” (Compl. ¶ 13)

At the time of Brown’s purchase of common shares, this leverage was provided by auction




                                                2
    Case: 1:10-cv-06558 Document #: 26 Filed: 11/23/10 Page 7 of 20 PageID #:158




market preferred shares (“AMPS”)1 issued by the Fund, which Brown alleges provided the Fund

with very favorable financing. (Comp. ¶¶ 12, 13, 24) The beneficial effect of the financing

provided by AMPS was “described in the Fund’s regular reports to its shareholders.” (Id.)

       The Complaint alleges that the Fund represented publicly that “one of the significant

benefits of. . .[an]. . .investment” in common shares was “leverage that would continue

indefinitely, because. . .the term of the AMPS was perpetual.” (Compl. ¶ 13) The Fund also is

alleged to have publicly stated that “[t]he perpetual nature of the AMPS makes them. . .a more

attractive source of leverage than borrowing, which by its terms must be repaid or refinanced at

or before a stated maturity date.” (Compl. ¶ 31(b)) According to the Complaint, AMPS never

had to be repaid, nor were they subject to redemption by the Fund. (Compl. ¶¶ 12(b), 24) On

the latter point, Plaintiff alleges that the Fund represented, in a 2003 AMPS prospectus, that

“AMPS are not redeemable by the holders of AMPS. . . .” (Compl. ¶ 24)

       Notwithstanding these representations, the “Individual Defendants” -- the Independent

Trustees of the Fund and John P. Calamos, Sr. (a Trustee and the President of the Fund) -- are

alleged to have caused the Fund to redeem its outstanding AMPS in June 2008 and August 2009,

and to have replaced the AMPS with debt financing that was not perpetual, and ostensibly is

more risky and costly to the Fund than AMPS. (Compl. ¶¶ 3, 25, 30-32) Plaintiff contends that

this action deprived common shareholders of “the benefits of an investment in the Fund, as

described in the Fund’s statements to the SEC and the public.”         (Compl. ¶ 42; emphasis

supplied) See also Compl. ¶ 45, alleging that redemption of the AMPS “eliminat[ed] one of

major benefits of the investment” in common shares.


1
    The Complaint refers to the auction rate preferred shares issued by the Fund by two different
acronyms, “AMPS” and “ARS.” In the interest of clarity and consistency, this Memorandum
will refer to the shares as “AMPS.”



                                               3
    Case: 1:10-cv-06558 Document #: 26 Filed: 11/23/10 Page 8 of 20 PageID #:159




       The Complaint claims that the Individual Defendants were motivated to take this action

by “economic interests” they supposedly shared with the investment advisor to the Fund and its

affiliated holding company (defendants Calamos Advisors LLC and Calamos Asset

Management, Inc., collectively referred to in the Complaint as the “Calamos Sponsorship

Group”). These “shared economic interests” ostensibly were served by providing liquidity to

holders of AMPS following the February 2008 collapse of the auction market in which AMPS

were purchased and sold. (Compl. ¶¶ 19, 22-23, 27) Plaintiff contends that the redemption

furthered the interests of the Calamos Sponsorship Group and holders of AMPS at the expense of

the interests of common shareholders. (Compl. ¶¶ 27, 32)

       On July 15, 2010, Plaintiff Brown filed a putative class action Complaint in this Court

against each of the Defendants named in this case. The Complaint in that action (N.D. Ill. Case

No. 1:10-cv-4422) contained allegations substantively identical to, and pleaded the same claims

as, the Complaint in this case, and invoked this Court’s jurisdiction under the Class Action

Fairness Act (“CAFA”). Plaintiff then thought better of his choice of a federal forum and

voluntarily dismissed the case on September 7, 2010. Plaintiff re-filed this action in the Circuit

Court of Cook County a week later, alleging that jurisdiction did not exist under CAFA because

the claims asserted in the Complaint “concern covered securities” -- a reference to the CAFA

exclusion (appearing in 28 U.S.C. § 1332 (d)(9)(A)) for cases governed by SLUSA. (Compl. ¶ 8)

       Defendants removed the action to this Court pursuant to SLUSA on October 13, 2010.

On November 4, 2010 the Defendants moved to dismiss the case on the ground that it is

precluded by SLUSA2 and submitted a twenty-page memorandum supporting that ground of

their motion. The following day, Plaintiff filed a motion to remand the case. An eight-page


2
    Defendants also raised several alternative grounds for dismissal.



                                                4
    Case: 1:10-cv-06558 Document #: 26 Filed: 11/23/10 Page 9 of 20 PageID #:160




memorandum accompanying Plaintiff’s motion (“Pl’s Memo.”) consists largely of a rote recital

of paragraphs in the Complaint and cites no authority -- not a single decision of any court --

supporting Plaintiff’s contention that this case is outside SLUSA’s broad reach. To the contrary,

this action is squarely within the four corners of SLUSA and was properly removed to this Court.

                                         ARGUMENT

       Congress enacted SLUSA in 1998 to prevent class action plaintiffs from using state law

legal theories, and state court venues, to evade the heightened pleading standards and other

requirements and limitations imposed in securities class actions by the Private Securities

Litigation Reform Act of 1995 (the “PSLRA”). Merrill Lynch, Pierce, Fenner & Smith Inc. v.

Dabit, 547 U.S. 71, 81-82 (2006). SLUSA added to the Securities Act of 1933, as amended (the

“1933 Act”), and the Securities Exchange Act of 1934, as amended (the “1934 Act”), parallel

provisions authorizing the removal and precluding the maintenance of certain class actions

brought under state law.3 As amended by SLUSA, the 1934 Act provides:

              “(1) Class action limitations. No covered class action based upon
              the statutory or common law of any State or subdivision thereof
              may be maintained in any State or Federal court by any private
              party alleging--

                      (A) a misrepresentation or omission of a material fact in
                      connection with the purchase or sale of a covered security;
                      or

                      (B) that the defendant used or employed any manipulative
                      or deceptive device or contrivance in connection with the
                      purchase or sale of a covered security.

              (2) Removal of covered class actions. Any covered class action
              brought in any State court involving a covered security, as set forth
              in paragraph (1) shall be removable to federal district court for the



3
  For ease of reference, citations to SLUSA in this Memorandum will be to the provisions of
SLUSA appearing in the 1934 Act, unless otherwise appropriate.



                                               5
     Case: 1:10-cv-06558 Document #: 26 Filed: 11/23/10 Page 10 of 20 PageID #:161




               district in which the action is pending, and shall be subject to
               paragraph (1).”

15 U.S.C. § 78bb(f)(1)-(2). The parallel provision in the 1933 Act uses identical language, with

the exception that it employs the phrase “untrue statement or omission of a material fact” in lieu

of “misrepresentation or omission of a material fact. . . .” 15 U.S.C. § 77p(b)-(c)

        The Supreme Court has emphasized that SLUSA should be given a broad construction to

serve SLUSA’s stated purpose of preventing the use of state law-based class actions to evade the

procedural and substantive protections of the PSLRA, and has applied SLUSA even where a

plaintiff’s claim would not be actionable under the federal securities laws. Dabit, 547 U.S. at 86

(holding that SLUSA precluded an alleged state law action for breach of fiduciary duty brought

on behalf of a putative class comprised of “holders” of securities, even though such persons

would not have had a private right of action under Section 10(b) of the 1934 Act and Rule 10b-5

thereunder because they were not alleged to have purchased or sold securities during the class

period).4   Thus, although SLUSA does not preempt individual claims, or claims asserted

derivatively, it altogether precludes class actions asserting claims within its scope, even where

those claims could not be brought in a private federal securities action because one or more of

the elements of such a cause of action is absent. Id.

I.      PLAINTIFF CONCEDES THAT THREE OF THE FOUR CONDITIONS FOR
        SLUSA REMOVAL ARE SATISFIED

        By its terms, SLUSA authorizes the removal of, and precludes, actions meeting four

conditions. SLUSA applies where (1) the underlying suit is a “covered class action”; (2) the

action is based upon state statutory or common law; (3) the action concerns a “covered security”;

4
   Similarly, SLUSA applies even though a complaint contains no allegation of scienter -- a
requirement in private actions under Section 10(b) of the 1934 Act and Rule 10b-5. Anderson v.
Merrill Lynch Pierce Fenner & Smith, 521 F. 3d 1278, 1285 (10th Cir. 2008); Potter v. Janus
Investment Fund, 483 F. Supp. 2d 692, 697 (S.D. Ill. 2007).



                                                6
      Case: 1:10-cv-06558 Document #: 26 Filed: 11/23/10 Page 11 of 20 PageID #:162




and (4) the case alleges either “a misrepresentation or omission of a material fact in connection

with the purchase or sale of a covered security,” or that the defendant “used or employed any

manipulative or deceptive device or contrivance in connection with the purchase or sale of a

covered security.” 15 U.S.C. § 78bb(f)(1), (2)

         Plaintiff concedes that each of the first three conditions for SLUSA removal and

preclusion is satisfied in this case. (Pl’s Memo. at 2) Thus, it is uncontested that this is a

“covered class action”; that the action is based upon state law; and that the case does concern a

“covered security” (i.e., Fund common shares).       Plaintiff contests only whether the fourth

element of SLUSA is satisfied, i.e., whether the Complaint contains allegations of a

misrepresentation or omission of material fact in connection with the purchase or sale of Fund

common shares. The Complaint unequivocally satisfies this requirement, as well.

II.      SLUSA’S FOURTH REQUIREMENT FOR REMOVAL IS SATISFIED

         A.     Plaintiff’s “Disclaimer” Is Wholly Ineffective

         Plaintiff’s primary argument in support of his contention that the Complaint does not

allege misrepresentations or omissions of material fact in connection with the purchase of Fund

common shares is that the Complaint contains a disclaimer of any intention to assert such a

claim. (Pl’s Memo. at 2, citing the disclaimer in Compl. ¶ 4) Plaintiff’s resort to this disclaimer

serves only to underscore the obviousness of SLUSA’s application to the Complaint.

         The disclaimer in Paragraph 4 of the Complaint is prototypical of what has become a

standard averment in pleadings attempting to evade SLUSA removal and preclusion. Numerous

decisions hold that such disclaimers are of no effect, and should be disregarded. See, e.g., Kurz

v. Fid. Mgmt. & Research Co., No. 07-cv-709, 2008 WL 2397582, *3 (S.D. Ill. June 10, 2008),

aff’d, 556 F. 3d 639 (7th Cir. 2009) (paragraph in complaint “specifically disclaiming” any

allegations of fraud, misrepresentation or omission was ineffective to avoid SLUSA preclusion);



                                                 7
    Case: 1:10-cv-06558 Document #: 26 Filed: 11/23/10 Page 12 of 20 PageID #:163




Segal v. Fifth Third Bank, 581 F.3d 305, 310-11 (6th Cir. 2009) (“a claimant does not have the

. . .ability to disclaim the applicability of SLUSA to a complaint”); Daniels v. Morgan Asset

Mgmt., Inc., No. 09-cv-2800, 2010 WL 4024604, *6 (W.D. Tenn. Sept. 30, 2010) (disregarding

express disclaimer of any relief based on “an untrue statement or omission of material fact in

connection with the purchase, sale, or retention of a security”); Korsinsky v. Salomon Smith

Barney, Inc., No. 01-cv-6058, 2002 WL 27775, *4 (S.D.N.Y. Jan. 10, 2002) (“[a]lthough the

complaint clearly states that ‘[t]his is not an action for fraud,’ it outlines several instances of

alleged misrepresentations”). In short, the first ground for Plaintiffs’ Motion to Remand is

completely frivolous. The most its presence in the Complaint signifies is Plaintiff’s recognition

that, absent an effective disclaimer, this putative class action satisfies SLUSA’s requirements.

       B.      Plaintiff’s Avoidance Of The Terms “Misrepresentation” Or “Omission” Has
               No Bearing On SLUSA’s Application

       Plaintiff next argues that the Complaint does not allege any misrepresentations or

omissions in connection with the purchase or sale of Fund shares. (Pl’s Memo. at 3-4) He

contends that, to the contrary, he has alleged that the various public statements he attributes to

the Defendants were true, or at least that he has not overtly alleged that they were untrue.

(Plaintiff’s Memo. at 3, 4)      This contention is just as frivolous as Plaintiff’s “disclaimer”

argument, for several reasons.

       First, it is simply not the case that the Complaint alleges that the statements attributed to

the Fund were true. No such allegation appears anywhere in the Complaint.5




5
   By pointing out this misstatement of the Complaint’s allegations, the Defendants do not in
any way concede that there was any material failure of disclosure, or any misrepresentation of
material fact, as to any matter alleged in Plaintiff’s Complaint.



                                                8
   Case: 1:10-cv-06558 Document #: 26 Filed: 11/23/10 Page 13 of 20 PageID #:164




       Second, the fact that the Complaint does not expressly characterize the statements

attributed to Defendants as “misrepresentations” or as untrue is of no consequence. The courts

have become accustomed to attempts to evade SLUSA’s application by the artful avoidance of

the Act’s terminology, and hold that such attempts are ineffective. See, e.g., Kurz, 2008 WL

2397582 at *3 (complaint that “scrupulously avoid[ed] using the words fraud, misrepresentation,

or omission” was nonetheless precluded by SLUSA); Segal, 581 F. 3d at 310-11 (a claimant

cannot “elude SLUSA’s prohibitions by editing out the covered words” or using “artful pleading

that removes the covered words from the complaint but leaves in the covered concepts”).

       In applying SLUSA, the courts look to “the realities underlying the claims,” not how the

claim is cloaked in a complaint. Romano v. Kazacos, 609 F. 3d 512, 523 (2d Cir. 2010). See

also Rabin v. JPMorgan Chase Bank, N.A., No. 06-cv-5452, 2007 WL 2295795, *6 (N.D. Ill.

Aug. 3, 2007) (“[a]ttempt by [p]laintiffs to characterize their allegations of misrepresentation and

omission of material facts as claims for breach of fiduciary duty and unjust enrichment is

futile”); Felton v. Morgan Stanley Dean Witter & Co., 429 F. Supp. 2d 684, 692-93 (S.D.N.Y.

2006) (holding that court “must look beyond the face of the complaint to analyze the substance

of the allegations made,” and concluding “that [p]laintiff’s claim is a securities fraud wolf

dressed up in a breach of contract sheep’s clothing”); Beckett v. Mellon Investor Servs, Inc., No.

C06-5245, 2006 WL 3249189, *3 (W.D. Wash. Nov. 8, 2006), aff’d in relevant part, 329 Fed.

Appx. 721 (9th Cir. 2009) (holding that although there was “no explicit reference [in the

complaint] to any fraudulent activity” such as a misrepresentation or omission of material fact,

“[o]ne may infer that [p]laintiff has framed the pleading in an effort to avoid SLUSA

preemption”); Stoody-Broser v. Bank of America, N.A., No. C08-02705, 2009 WL 2707393, *2-

3 (N.D. Cal. Aug. 25, 2009) (same).




                                                9
    Case: 1:10-cv-06558 Document #: 26 Filed: 11/23/10 Page 14 of 20 PageID #:165




       Third, as the allegations excerpted in Paragraph 5(d) of Defendants’ Notice of Removal

(Exhibit A hereto) demonstrate, the undeniable substance of Brown’s claim is that investors or

prospective investors in Fund common shares were misled as to the benefits of an investment in

the shares. The premise of the Complaint is that the Defendants misled common shareholders by

representing that the financing provided by AMPS was a “significant benefit[]” they would enjoy

“indefinitely” and in “perpetuity,” but then redeemed the AMPS and substituted assertedly less

favorable financing in its place, ostensibly for the undisclosed purpose of serving the interests of

the Calamos Sponsorship Group. Stated differently, the Complaint alleges that the Defendants

said one thing, and then did another for undisclosed, allegedly improper reasons. See Beckett,

2006 WL 3249189, at *4 (allegation that fees charged to plaintiff were not authorized by contract

“implicitly allege[d] an omission of material fact”).

       Moreover, plaintiff concedes that the Complaint may “suggest” that Defendants

“misrepresented the reasons for their redemptions of AMPS” by failing to disclose that the

redemption supposedly was motivated by a desire to “further the business objectives of the

Calamos Sponsorship Group. . . .” (Pl’s Memo. at 6; Compl. ¶ 27) This alone -- even without

consideration of Plaintiff’s allegations regarding the allegedly “perpetual” and “indefinite”

duration of AMPS financing -- is enough to satisfy the “misrepresentation or omission” element

of SLUSA. Daniels, 2010 WL 4024604, at *9 (rejecting argument that claim was based on

“what. . .the defendants did,” rather than on the defendants’ disclosures, observing that the

defendants’ “undisclosed conflict of interest is precisely what Plaintiffs argue caused Defendants

to do what they ‘did’ ”).6



6
   Plaintiff also claims that the Calamos Sponsorship Group improperly received “fees and
other revenues” as a result of the redemption and refinancing of the AMPS. (Compl. ¶ 57)
Claims “for excessive fees caused by. . .investments. . .have been universally found to be


                                                10
    Case: 1:10-cv-06558 Document #: 26 Filed: 11/23/10 Page 15 of 20 PageID #:166




       In short, all that distinguishes Brown’s Complaint from a conventional securities fraud

action is its reliance on state law in lieu of Rule 10b-5. The Complaint thus presents a paradigm

case for application of SLUSA. Rabin, 2007 WL 2295795, at *6 (analyzing the substance of

allegations of breach of fiduciary duty and unjust enrichment asserted by trust beneficiaries, the

court found “that at the heart of the Amended Complaint is that Defendants misrepresented and

omitted material facts related to the purchase of shares” in the trustee’s proprietary mutual fund).

See also In re Mut. Funds Inv. Litigation, 309 Fed. Appx. 722, 725 (4th Cir. 2009) (“[d]espite

their emphatic disavowal of their prior explicit allegations of misrepresentation. . .at bottom the

plaintiffs simply allege” a misrepresentation claim precluded by SLUSA); Kutten v. Bank of

America, N.A., 530 F. 3d 669, 670-71 (8th Cir. 2008) (holding, in a case where the complaint

did not allege omissions of fact or misrepresentations made to plaintiffs, that “SLUSA

preemption is based upon the conduct alleged, not the words used to describe the conduct”). 7

       The analysis applied in Kircher v. Putnam Funds Trust, 398 Ill. App. 3d 664, 922 N.E.2d

1164, 337 Ill. Dec. 587 (5th Dist. 2010), is particularly instructive in light of Plaintiff Brown’s

allegation that Defendants benefitted one class of shareholders (those who owned AMPS) at the

expense of another (those who owned common shares of the Fund). In Kircher, a putative class




preempted by SLUSA.” Stoody-Broser v. Bank of America, N.A., 2009 WL 2707393, at *4.
See also Beckett, 2006 WL 3249189, at *4 (a “request for recovery of allegedly unlawfully
obtained fees and charges. . .[on the]. . .sale of securities is subject to SLUSA preemption”).
7
    Plaintiff’s Memorandum attempts to minimize the significance of the Complaint’s allegations
regarding the Fund’s public statements by dismissing them as “simply a statement of fact” or
“simply statements of information made publicly by the fund.” (Pl’s Memo. at 3) The courts
have rejected similar attempts to evade SLUSA by characterizing misrepresentations as mere
background facts. It is of no consequence under SLUSA that allegations of misrepresentation
are not material to the state law claims asserted in a complaint. See, e.g., Segal, 581 F. 3d at 311
(contention that “the state-law claims do not depend upon allegations of misrepresentation or
manipulation -- and thus are not material to them” was unavailing).



                                               11
   Case: 1:10-cv-06558 Document #: 26 Filed: 11/23/10 Page 16 of 20 PageID #:167




of mutual fund shareholders alleged claims sounding in negligence and breach of fiduciary duty

arising out of short-term trading or “market timing” in shares of the fund. 398 Ill. App. 3d at

667-68, 922 N.E.2d at 1167, 337 Ill. Dec. at 590. The plaintiffs alleged that although the

defendants operated a mutual fund with the stated goal of providing capital growth to long-term

investors, they followed portfolio valuation procedures which benefited short-term traders at the

expense of long-term shareholders. Id. The plaintiffs argued that SLUSA did not apply because

their claims did not sound in misrepresentation or fraud. Id. at 670, 922 N.E.2d at 1169-70, 337

Ill. Dec. at 592-93. The court disagreed, holding that “the plaintiffs’ allegations are based, at

least implicitly, on the defendants’ failure to disclose. . .their method of calculating. . .[net asset

value]. . .and the fact that this method has a potential to reward market-timing investors at the

expense of long-term investors.” Id. at 673-74, 922 N.E.2d at 1171-72, 337 Ill. Dec. at 594-95.

The court reasoned that the complaint at bottom alleged a claim for misrepresentation or

omission of material fact, noting that if the defendants had disclosed the risks and potential

impact of market timing, there could be no claim for negligence or breach of duty. Id.

       The same reasoning applies here. Plaintiff’s Complaint alleges that “[t]he Fund’s public

statements indicated that the holders of its common stock could realize, as one of the significant

benefits of this investment, leverage that would continue indefinitely, because. . .the term of the

AMPS was perpetual.”         (Compl. ¶ 13)      Plaintiff complains that contrary to the Fund’s

representations about these and other benefits of AMPS, the Individual Defendants caused the

Fund to redeem the AMPS using more costly and comparatively short-term replacement

borrowing, thereby “eliminating one of the major benefits of the investment.” (Compl. ¶¶ 31,

43, 45) These allegations necessarily assume a purported failure to disclose that the AMPS

might be, or would be, replaced with shorter term and/or higher cost leverage, since if such a

disclosure had been made, no claim could exist. Stoody-Broser, 2009 WL 2707393, at *4



                                                 12
   Case: 1:10-cv-06558 Document #: 26 Filed: 11/23/10 Page 17 of 20 PageID #:168




(purported breach of fiduciary claims asserted against trustee of assets invested in affiliated

mutual funds inherently involved a failure of disclosure). Consequently, the Complaint asserts

claims for the misrepresentation or omission of material facts within the meaning of SLUSA.

       C.      SLUSA’s “In Connection With” Requirement Also Is Met

       The Complaint easily meets the requirement of SLUSA that a misrepresentation or

omission of material fact be “in connection with” the purchase or sale of a covered security. The

Supreme Court has construed the “in connection with” requirement broadly, holding that “it is

enough that the fraud alleged ‘coincide’ with a securities transaction -- whether by the plaintiff

or by someone else.” Dabit, 547 U.S. at 85, 89. That unquestionably is the case alleged here,

where the Complaint asserts that the Fund filed SEC reports and made public pronouncements

concerning the allegedly “perpetual” nature of AMPS financing that was “a significant benefit[ ]

of. . .[an]. . .investment” in the Fund’s common shares. (Compl. ¶¶ 10, 12, 13, 31, 42, 45)

       The Complaint attempts to evade SLUSA preclusion by defining a class consisting of

“owners,” rather than purchasers or sellers, of the Fund’s common shares. (Compl. ¶ 35) As

noted supra at 6, the Supreme Court squarely rejected such an attempted end-run around SLUSA

in Dabit, holding that “[f]or purposes of SLUSA pre-emption, that distinction [between ‘holders’

and purchasers or sellers of securities] is irrelevant; the identity of the plaintiffs does not

determine whether the complaint alleges fraud ‘in connection with the purchase or sale’ of

securities.” Dabit, 547 U.S. at 89. Under Dabit, the inquiry focuses on defendant’s conduct,

rather than the identity of the plaintiff. Rabin, 2007 WL 2295795, at *7.

       The same principle disposes of Plaintiff’s apparent contention that the “in connection

with” requirement of SLUSA is not met as to his purchase of Fund common shares because one

misrepresentation alleged in the Complaint (relating to what Plaintiff contends were the actual,

undisclosed reasons for the redemption of the Fund’s AMPS) was made after Plaintiff purchased



                                               13
    Case: 1:10-cv-06558 Document #: 26 Filed: 11/23/10 Page 18 of 20 PageID #:169




his Fund common shares. (Pl’s Memo. at 6) Dabit makes clear that SLUSA applies even when

neither the named plaintiff, nor any member of the class the named plaintiff purports to

represent, was a purchaser or seller of securities at the time when alleged misrepresentations

were made. Dabit, 547 U.S. at 74. This is the case because SLUSA precludes state law class

actions even where the federal securities laws would not provide a would-be plaintiff with a

private remedy. Id.8 In Dabit, the Supreme Court made clear that the “in connection with”

requirement is met, and SLUSA applies, where there is “deception ‘in connection with the

purchase or sale of any security,’ not deception of an identifiable purchaser or seller.” Id. at 85,

citing United States v. O’Hagan, 521 U.S. 642, 658 (1997) (internal quotation omitted).

Consequently, the timing of Plaintiff Brown’s purchase of Fund common shares is irrelevant to

SLUSA’s application. U.S. Mortgage, 494 F. 3d at 842 (plaintiffs’ contention that SLUSA did

not apply because they did not purchase or sell securities in response to alleged

misrepresentations was “the very argument that Dabit rejected”).

       And, in any case, Plaintiff does not contend that each of the misrepresentations alleged in

the Complaint was made after his share purchase. Consequently, even if the timing of Plaintiff’s

purchase were a relevant consideration (and it is not), the occurrence of a single alleged

misrepresentation after the purchase date would not render SLUSA inapplicable.

                                             CONCLUSION

       The Complaint in this case is a paradigm of the kind of action which SLUSA was enacted

to address. It is a Complaint which, prior to the adoption of the PSLRA, undoubtedly would



8
    As the Seventh Circuit observed in Kircher v. Putnam Funds Trust, 403 F.3d 478 (2005),
rev’d on other grounds, 547 U.S. 633 (2006), SLUSA’s “preemptive effect is not confined to
knocking out state-law claims by investors who have winning federal claims, as plaintiffs
suppose. It covers both good and bad securities claims -- especially bad ones.”



                                               14
   Case: 1:10-cv-06558 Document #: 26 Filed: 11/23/10 Page 19 of 20 PageID #:170




have been brought under the federal securities laws, and which now masquerades in state law

costume only to avoid the requirements and strictures of the PSLRA. SLUSA squarely applies

to, and authorizes the removal of, this purported class action. Plaintiff’s motion to remand this

case to the Circuit Court of Cook County therefore should be denied.

Dated: November 23, 2010                               Respectfully submitted,


                                                       Weston W. Marsh, Joe F. Hanauer, John E.
                                                       Neal, William R. Rybak, Stephen B.
                                                       Timbers, David D. Tripple, and the Calamos
                                                       Convertible Opportunities and Income Fund

                                                       By: /s/ John W. Rotunno
                                                                    One of their attorneys
John W. Rotunno
Paul J. Walsen
Molly K. McGinley
K&L GATES LLP
70 West Madison Street, Suite 3100
Chicago, Illinois 60602
Telephone: 312.372.1121
Facsimile: 312.345.9060
                                                       Defendants John P. Calamos, Sr., Calamos
                                                       Advisors LLC, and Calamos Asset
                                                       Management, Inc.

                                                       By: /s/ Kevin B. Dreher
                                                                 One of their attorneys

Kevin B. Dreher
MORGAN, LEWIS & BOCKIUS LLP
77 West Wacker Drive
Chicago, Illinois 60601-5094
Telephone: 312.324.1000
Facsimile: 312.324.1001

Christian J. Mixter (pro hac vice)
Patrick D. Conner (pro hac vice)
MORGAN, LEWIS & BOCKIUS LLP
1111 Pennsylvania Avenue, NW
Washington, DC 20004-2541
Telephone: 202.739.3000
Facsimile: 202.739.3001


                                              15
   Case: 1:10-cv-06558 Document #: 26 Filed: 11/23/10 Page 20 of 20 PageID #:171




                              CERTIFICATE OF SERVICE

        The undersigned, an attorney, certifies that he caused the foregoing Joint Response of
Fund Defendants and Calamos Defendants In Opposition to Motion to Remand and the Exhibit
thereto to be served automatically via CM/ECF to the following counsel of record:

       Carol V. Gilden
       Cohen Milstein Sellers & Toll PLLC
       190 South LaSalle Street, Suite 1705
       Chicago, Illinois 60603
       cgilden@cohenmilstein.com

       Steven J. Toll
       Joshua S. Devore
       Joshua M. Kolsky
       Cohen Milstein Sellers & Toll PLLC
       1100 New York Avenue, NW
       Suite 500, West Tower
       Washington, DC 20005
       stoll@cohenmilstein.com
       jdevore@cohenmilstein.com
       jkolsky@cohenmilstein.com

       Lynn L. Sarko
       Keller Rohrback, P.L.C.
       1201 Third Avenue, Suite 3200
       Seattle, Washington 98101
       lsarko@kellerrohrback.com

       Gary Gotto
       James A. Bloom
       Keller Rohrback, P.L.C.
       3101 North Central Avenue, Suite 1400
       Phoenix, Arizona 85012
       ggotto@krplc.com
       jbloom@krplc.com



                                                           /s/ John W. Rotunno
                                                            John W. Rotunno
